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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                :
                                         :
      v.                                 :       No. 1:21-cr-00502-CKK
                                         :
DANIEL JOHN CHRISTMANN,                  :
    Defendant.                           :


              MOTION FOR LEAVE TO WITHDRAW AS COUNSEL

      COMES NOW, Allen H. Orenberg, counsel for Daniel John Christmann, and

hereby requests leave of Court to withdraw as counsel for the defendant in this matter.

As grounds, the following is stated:

      1.       On August 10, 2021, undersigned counsel entered his appearance

pursuant to the Criminal Justice Act.

      2.       A trial date has not yet been scheduled.

      3.       Mr. Christmann is charged with misdemeanor violations of: 18 U.S.C. §

1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds

Without Lawful Authority (Count 1), 18 U.S.C. §1752(a)(2) – Disorderly and Disruptive

Conduct in a Restricted Building (Count 1), 40 U.S.C. §5104(e)(2)(D) – Violent Entry

and Disorderly Conduct on Capitol Grounds; Disorderly Conduct in a Capitol Building

(Count 3), and 40 U.S.C. §5104(e)(2)(G) – Violent Entry and Disorderly Conduct on

Capitol Grounds; Parading, Demonstrating, or Picketing in a Capitol Building.




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      4.       Undersigned counsel and the defendant no longer enjoy a genuine

attorney-client relationship; the crucial elements of trust and confidence by and

between this lawyer and defendant have been eroded beyond the point where the

relationship may be satisfactorily restored.

      5.       Counsel submits that granting leave to withdraw as counsel will not

prejudice the parties or the Court, and/or otherwise will be in the interests of justice.

      WHEREFORE, for the foregoing reasons and such other reasons that may

appear just and proper, Allen H. Orenberg, counsel for hereby requests leave of Court

to withdraw as counsel for Daniel John Christmann in case no. 1:21-cr-00502-CKK.



                                         Respectfully Submitted,



                                         Allen H. Digitally      signed by
                                                        Allen H. Orenberg

                                         Orenberg Date:       2022.01.31
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                                         _____________________________
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Dated: January 31, 2022



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